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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 LEONARD DOUGLAS (#601998), CIVIL ACTION
 Individually and on behalf of
 EXECUTIVE SHIELD SOCIETY,
 INC., HOUSE OF BLUES OF BATON
 ROUGE, and BATON ROUGE
 HOUSE OF BLUES, LLC

 VERSUS

 THE ESTATE OF T. JOE NO. 18-00127-BAJ-SDJ
 GALLOWAY, ET AL.

                               RULING AND ORDER

       Before the Court is Plaintiffs pro se Complaint (Doc. 1), alleging various breach

of contract claims related to improvements made to a certain tract of real property


located at 6046 Airline Highway, Baton Rouge, Louisiana. Plaintiff, a prisoner, is

proceeding in forma pauperis. Pursuant to the screening requirements of


28 U.S.C. §§ 1915(e) and 1915A, the Magistrate Judge has issued a Report and

Kecommendation (Doc. 8) recommending that Plaintiffs action be dismissed without

prejudice for lack of subject matter jurisdiction and on the basis that Plaintiff has not

established that he can represent the interests of his purported co-plaintiffs. Plaintiff

does not object to the Magistrate Judge s Report and Recommendation.

      Having carefully considered Plaintiffs Complaint and related filings, the Court

APPROVES the Magistrate Judge's Report and Recommendation and ADOPTS it

as the Court s opinion in this matter.


      Accordingly,
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      IT IS ORDERED that Plaintiffs Complaint is DISMISSED WITHOUT

PREJUDICE for lack of subject matter jurisdiction and on the basis that Plaintiff

has not established that he can represent the interests of his purported co-plaintiffs.


      A judgment will issue separately.

                             Baton Rouge, Louisiana, this fu day of December, 2020




                                        JUDGE BRIAI^ A. JACKSON
                                        UNITED STATE1SrClSTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA
